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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
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                                                Filed: July 08, 2013




Mr. Winston Sturdevant Evans
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401 Commerce Street
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3102 W. End Avenue
Suite 700
Nashville, TN 37203

                    Re: Case No. 13-5556, Richard Johnson, et al v. Prudential Insurance Company
                        Originating Case No. : 3:11-cv-00866

Dear Sir or Madam,

  The Court issued the enclosed (Order/Opinion) today in this case.

                                                Sincerely yours,

                                                s/Connie A. Weiskittel
                                                Mediation Administrator


cc: Mr. Keith Throckmorton

Enclosure

No mandate to issue



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                                         Case No. 13-5556

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                             ORDER



RICHARD A. JOHNSON; C. DALE ALLEN, Trustees

              Plaintiffs - Appellants

v.

PRUDENTIAL INSURANCE COMPANY OF AMERICA, INC.

              Defendant - Appellee



     In accordance with Rule 33, Rules of the Sixth Circuit, and upon consideration of the

parties' stipulation to dismiss,

     It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

of Appellate Procedure.

                                                  ENTERED PURSUANT TO RULE 33,
                                                  RULES OF THE SIXTH CIRCUIT
                                                  Deborah S. Hunt, Clerk


Issued: July 08, 2013
                                                  ___________________________________




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